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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

 In re:                                                            Chapter 11

 BOY SCOUTS OF AMERICA AND                                         Case No. 20-10343 (LSS)
 DELAWARE BSA, LLC,1
                                                                   Jointly Administered
                                     Debtors.


                                                          Objection Deadline: January 25, 2021 at 4:00 p.m. (ET)
                                                             Hearing Date: February 17, 2021 at 10:00 a.m. (ET)


                          NOTICE OF FILING OF FEE APPLICATION

                  PLEASE TAKE NOTICE that Pachulski Stang Ziehl & Jones LLP (“PSZ&J”),

counsel to the official committee of tort claimants (consisting of survivors of childhood sexual

abuse) (the “Tort Claimants’ Committee” or the “TCC”), in the above-captioned cases, has filed

its Third Quarterly Application for Compensation and Reimbursement of Expenses of Pachulski

Stang Ziehl & Jones LLP, as Counsel to the Tort Claimants’ Committee for the Period from

August 1, 2020 through October 31, 2020 (the “Application”) seeking fees in the amount of

$1,913,906.50 and reimbursement of actual and necessary expenses in the amount of $67,082.34

for the period from August 1, 2020 through October 31, 2020.

                  PLEASE TAKE FURTHER NOTICE that any objection or response to the

Application must be made in writing and be filed with the United States Bankruptcy Court for

the District of Delaware (the “Bankruptcy Court”), 824 N. Market Street, 3rd Floor, Wilmington,

Delaware 19801, on or before January 25, 2021 at 4:00 p.m. prevailing Eastern Time.




1 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing address
is 1325 West Walnut Hill Lane, Irving, Texas 75038.


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                 PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the objection or response, if any, by email upon the following: (i) the Debtors:

Boy Scouts of America, 1325 W. Walnut Hill Lane, Irving, TX 75038, Attn: Steven P.

McGowan; (ii) counsel to the Debtors: (a) White & Case LLP, Attn: Jessica C.K. Boelter

(jessica.boelter@whitecase.com), Michael C. Andolina (mandolina@whitecase.com), and

Matthew E. Linder (mlinder@whitecase.com) and (b) Morris, Nichols, Arsht & Tunnell LLP,

Attn: Derek C. Abbott (dabbott@mnat.com); (iii) the Office of the United States Trustee: United

States Trustee, Attn: David Buchbinder (david.l.buchbinder@usdoj.gov) and Hannah M.

McCollum (hannah.mccollum@usdoj.gov); (iv) counsel to the Official Committee of Unsecured

Creditors: (a) Kramer Levin Naftalis & Frankel LLP, Attn: Rachael Ringer

(rringer@kramerlevin.com) and Megan M. Wasson (mwasson@kramerlevin.com) and (b) Reed

Smith LLP, Attn: Kurt F. Gwynne (kgwynne@reedsmith.com) and Katelin A Morales

(kmorales@reedsmith.com); (v) counsel to the Tort Claimants’ Committee: Pachulski Stang

Ziehl & Jones LLP, Attn: James I. Stang (jstang@pszjlaw.com) and James E. O’Neill

(joneill@pszjlaw.com); (vi) counsel to the Future Claimants’ Representative: Young Conaway

Stargatt & Taylor, LLP, Attn: Robert S. Brady (rbrady@ycst.com) and Edwin J. Harron

(eharron@ycst.com); (vii) counsel to the Ad Hoc Committee of Local Councils: Wachtell,

Lipton, Rosen & Katz, Attn: Richard G. Mason (rgmason@wlrk.com) and Joseph C. Celentino

(jccelentino@wlrk.com); (viii) counsel to JPMorgan Chase Bank, National Association: (a)

Norton Rose Fulbright US LLP, Attn: Louis R. Strubeck

(louis.strubeck@nortonrosefulbright.com) and Kristian W. Gluck

(kristian.gluck@nortonrosefulbright.com) and (b) Womble Bond Dickinson (US) LLP, Attn:

Matthew Ward (matthew.ward@wbd-us.com) and Morgan Patterson (morgan.patterson@wbd-


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us.com); and (ix) counsel to the County Commission of Fayette County (West Virginia): Steptoe

& Johnson PLLC, Attn: John C. Stump (john.stump@steptoe-johnson.com).

                 PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.

                 PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE RELIEF SOUGHT IN THE APPLICATION WILL BE HELD ON FEBRUARY 17, 2021

AT 10:00 A.M. PREVAILING EASTERN TIME BEFORE THE HONORABLE LAURIE

SELBER SILVERSTEIN, UNITED STATES BANKRUPTCY JUDGE, AT THE UNITED

STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 MARKET

STREET, 6TH FLOOR, COURTROOM NO. 2, WILMINGTON, DELAWARE 19801.

 Dated: January 11, 2021              PACHULSKI STANG ZIEHL & JONES LLP

                                      /s/ James E. O’Neill
                                      James I. Stang (CA Bar No. 94435)
                                      Robert B. Orgel (CA Bar No. 10187)
                                      James E. O’Neill (DE Bar No. 4042)
                                      John W. Lucas (CA Bar No.271038)
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                                      Counsel for the Tort Claimants’ Committee




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